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                      UNITED STATES DISTRICT COURT FOR THE

                            EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )          Case No.     1:05-cr-00469
                              )
     vs.                      )          ORDER OF DETENTION FOLLOWING
                              )          REVOCATION OF PREVIOUSLY SET
CARMIN GENE GRISSOM,          )          CONDITIONS OF RELEASE
                              )
               Defendant.     )
______________________________)

A.   Order for Revocation and Detention

     After conducting a hearing pursuant to 18 U.S.C. § 3148(b) on the government's
     motion for revocation of the previous order for release, the Court orders the
     previous conditions of pretrial release revoked and this defendant detained.

B.   Statement of Reasons for the Revocation and Detention

     The Court orders the revocation of pretrial release conditions and the
     defendant's detention because it finds:

            (1)     There is probable cause to believe this defendant has committed
                    a Federal, State, or local crime while on release.

                                            or

       X    (2)     There is clear and convincing evidence that this defendant has
                    violated a condition or conditions of release.

                                           and

            (3)     That based on the factors set forth in § 3142(g), there is no
                    condition or combination of conditions of release that will assure
                    that this defendant will not flee or pose a danger to the safety of
                    any other person or the community; or,

       X    (4)     That this defendant is unlikely to abide by any condition or
                    combination of conditions of release.

            (5)     That this defendant has not rebutted the rebuttable presumption
                    contained in 18 U.S.C. § 3148(b) that no condition or combination
                    of conditions will assure that the person will not pose a danger
                    to the safety of any other person or the community based upon the
                    existence of probable cause to believe that, while on release, the
                    defendant committed a Federal, State, or local felony.

IT IS SO ORDERED.

Dated: December 14, 2006                /s/ Oliver W. Wanger
emm0d6                             UNITED STATES DISTRICT JUDGE
